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E                            UNITED STATES DISTRICT COURT

 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                            September 2019 Grand Jury

l~   UNITED STATES OF AMERICA,             ~D~ FftlNo. ~ / _ O    394           ,+.s ~~`      ~~

12             Plaintiff,                    IN DIC T M E N T                                ~~

13             v.                             [18 U.S.C. ~ 115 (a) (1) (B)
                                             Threatening a Federal Official and
14   ROBERT ERIC STAHLNECKER,                Employee and Person Assisting a
                                             Federal Official and Employee; 18
15             Defendant.                    U.S.C. ~ 875(c) : Threat by
                                             Interstate Communication; 47
16                                           U.S.C. ~ 223(a) (1) (C) : Anonymous
                                             Telecommunications Harassment]
17

18        The Grand Jury charges:

19                                      COUNT ONE

20                            [ 18 U.S.C. § 115(a) (1) (B) ]

21        On or about September 26, 2019, in Riverside County, within the

22   Central District of California, defendant ROBERT ERIC STAHLNECKER

23   knowingly threatened to assault and murder Victim B, a United States

24   o fficial and an employee of a member of the United States Congress,

25   that is, a United States Senator, and who was assisting other

  :~ employees of the United States Senator, with the intent to impede,
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~~~ intimidate, and interfere with Victim B while Victim B was engaged in

1►.~:~ the performance of official duties, and with the intent to retaliate
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 1   against Victim B on account of the performance of Victim B's official

 2   duties.

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  1                                         COUNT TWO

  2                                   [ 18 U.S.C. ~ 875(c) ]

  3           On or about September 26, 2019, in Riverside County, within the

  4      Central District of California, defendant ROBERT ERIC STAHLNECKER,

  5      with the intent to issue a threat, and with knowledge that it would

  6      be viewed as a threat, knowingly transmitted in interstate commerce a

  7      t elephonic communication that contained a true threat to injure the

  8      person of another, that is, defendant STAHLNECKER threatened to go to

  9      Victim B's office and kill Victim B.                                          I

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     1                                     COUNT THREE

     2                            [47 U.S.C. ~ 223(a)(1)(C)]

     3         On or about September 26, 2019, in Riverside County, within the

     4    Central District of California, defendant ROBERT ERIC STAHLNECKER, in

     5    interstate communications, made a telephone call without disclosing

     6    his identity and with intent to annoy, abuse, and harass a person at

     7    the called number who received the communications, namely, Victim B.

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 1                                      COUNT FOUR

 2                             [47 U.S.C. § 223(a)(1)(C)]

 3          On or about September 27, 2019, in Riverside County, within the

 4     Central District of California, defendant ROBERT ERIC STAHLNECKER, in

 5     interstate communications, made a telephone call without disclosing

 6     his identity and with intent to annoy, abuse, and harass a person at

 7     the called number who received the communications, namely, Victim B.

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 1                                     COUNT FIVE

 2                            [47 U.S.C. ~ 223(a)(1)(C)]

 3        On or about October 21, 2019, in Riverside County, within the

 4   Central District of California, defendant ROBERT ERIC STAHLNECKER, in

 5   interstate communications, made a telephone call without disclosing

 6   . his identity and with intent to annoy, abuse, and harass a person at

 7   the called number who received the communications, namely, Victim C.

 8                                            A TRUE BILL

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                                                reperson
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12    NICOLA T. HANNA
      United States Attorney
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14

15    BRAN DON D. FOX
      Assistant United States Attorney
16    Chief, Criminal Division

17    JOSEPH B. WIDMAN
      Assistant United States Attorney
18    Chief, Riverside Branch Office

19    PETER DAHLQUIST
      Assistant United States Attorney
20    Riverside Branch Office

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